Case 2:04-cr-2050l-BBD Document 27 Filed 04/25/05 Page 1 of 2 Page|D 31

|N THE UN|TED STATES D|STR|CT COURT
FOR THE WESTERN D|STR|CT OF TENNESSEE

 

 

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uNiTEo sTATEs oF AMERICA W~D- i" itt :"/l-‘~MHSS

P|aintiff

VS.
CR. NO. 04-20501-D

ANTON|O STACKER

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FYING PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on Apri| 19, 2005. At that time, counsel forthe
defendant requested a continuance of the |V|ay 2, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to June 6, 2005 with a Qp_o_rt
date of Thursda)[l Nlay 19l 2005l at 9:00 a.m., in Courtroom 3, ch F|oor of the Federal
Bui|ding, i\/lemphis, TN.

Th_e period from |Vlay 13, 2005 through June 17, 2005 is excludable under 18
U.S.C. § 31 61(h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy tria|.

lT is so 0RoEREo this ;if day oprril, 2005.

JM £jW/Z/

BERNlcE B.`DbNAl_o
uNiTED sTATEs orsTRlcT JUDGE

Thls document entered on the docket sheet in compliance
with Hule 55 andlor 32lbl FRCrP on " "

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Notice of Distribution

This notice confirms a copy of the document docketed as number 27 in
case 2:04-CR-20501 Was distributed by faX, mail, or direct printing on
April 27, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

